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United States Bankruptcy Court
Northern District of New York

In RE:

CERTIFICATE OF SERVICE
Gerald A. Tanner and
Melanie Tanner, Case No.: 23-30672
Chapter 13
Debtor(s)

I hereby certify that on June 7 2024, a copy of the Notice and Motion for Plan Modification
of Chapter 13 plan was served electronically or by regular United States mail to all interested
parties, the Chapter 13 Trustee and all creditors listed on the attached sheet.

/ / C4. / /] gt /
Cran UM aL
Connie M. LaComb, Paralegal

Bhatt Law Firm

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Ogdensburg, NY 13669

315-713-4837

neil@bhattlawfirm.net

Sf) —_

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Label Matrix for local noticing
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Northern Djstrict of New York
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WedJun 5 15:14:52 EDT 2024

Capital One
PO Box 30285
Salt Lake City, UT 84130-0285

Joseph A, DiMino Jr
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Ashley Funding Services, LLC
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Robert L. Cook

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Rochester, NY 14604-2108

Discover Financial Services LLC
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Salt Lake City, UT 84130-0939

(p) DISCOVER FINANCIAL SERVICES LLC HSBC Bank Internal Revenue Service
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NEW ALBANY OH 43054-3025 PO Box 9 Philadelphia, PA 19101-7317

Buffalo, NY 14240-0009 =

Internal Revenue Service LendingClub Bank, NA LendingClub Bank, NA

PO Box 7346 3440 Flair Dr. P.0. BOX 884268

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El Monte, CA 91731-2823

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MoT BANK a MeT Bank ~~ MST Bank
PO Box 1508, Bgpeeo, NY 14240 One MéT-Plaza PO Box 615063

Buféélo, NY 14203 _ Bali, 1K 75261-9063
wo wf

(p)M&T BANK Movement Mortgage NYS Dept. of Taxation and Finance
LEGAL DOCUMENT PROCESSING 9726 Old Bailes Road Ste 200 Attn: Bankruptey Unit

626 COMMERCE DRIVE Fort Mill, SC 29707-7882: P.O. Box 5300

AMHERST NY 14228-2307 Albany NY 12205-0300

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wen

New York State Department of Taxation and Fi Tyler J. O'Neill
Bankruptcy Unit_—~ MeT Bank POB 30672

PO Box 5300- QuclighKe One MéT Plaza Norfolk, VA 23541
; NY 12205-0300 Buffalo, NY 14203

(p) PORTFOLIO RECOVERY ASSOCIATES LLC
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NORFOLK VA 23541-1067

aa
PORTFOLIO RECOVERY ASSOCIATES, LLC

(p)MARK SWINELAR TRUSTER Synchrony Bank
PO Box 965015
Orlando, FL 32896-5015

SE NY 13202-1067

The Lending Club Corp Kevin Roger Toole U.S. Trustee
71 Stevenson St Ste 200 Robertson, Anschutz, Schneid, Crane & Pa US. Trustee Office
San Francisco, CA 94105-2965 900 Merchant Concourse 10 Brogd Street,

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Westbury, NY 11590-5114 ica, NY 13501-1258
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United States Attorney, NDNY
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The preferred mailing address (p) above has been substituted for the following entity/entities a specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed JBank.B. 2002 (g) (4).

a
Neil Tarak Bhatt Discover Financial Services LLC ge M6T Bank
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Ogdensburg, NY 13669 yw
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The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.

(u)Movement Mortgage, LLC End of Label Matrix
Mailable recipients 39
Bypassed recipients 1
Total 34
